Case No. 1:24-cv-02759-MEH           Document 1 filed 10/05/24         USDC Colorado        pg 1
                                           of 14




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


TYLER WESLEY,                                                 )
                                                              )
                              Plaintiff,                      )
                                                              )    CIVIL ACTION
vs.                                                           )
                                                              )    Case No. 1:24-CV-02759
SOOK INVESTMENTS CORP.,                                       )
                                                              )
                              Defendant.                      )


                                            COMPLAINT

       COMES NOW, TYLER WESLEY, by and through the undersigned counsel, and files

this, his Complaint against Defendant, SOOK INVESTMENTS CORP., pursuant to the

Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s

Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”).            In support thereof, Plaintiff

respectfully shows this Court as follows:

                                           JURISDICTION

       1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendant’s

SOOK INVESTMENTS CORP., failure to remove physical barriers to access and violations of

Title III of the ADA.

                                             PARTIES

       2.      Plaintiff TYLER WESLEY (hereinafter “Plaintiff”) is and has been at all times

relevant to the instant matter, a natural person residing in Thornton, CO (Adams County).

       3.      Plaintiff is disabled as defined by the ADA.




                                                1
Case No. 1:24-cv-02759-MEH            Document 1 filed 10/05/24           USDC Colorado         pg 2
                                            of 14




       4.      Plaintiff is required to traverse in a wheelchair and is substantially limited in

performing one or more major life activities, including but not limited to: walking, standing,

grabbing, grasping and/or pinching.

       5.      Plaintiff uses a wheelchair for mobility purposes.

       6.      In addition to being a customer of the public accommodation on the Property,

Plaintiff is also an independent advocate for the rights of similarly situated disabled persons and

is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring, determining and

ensuring whether places of public accommodation are in compliance with the ADA. His

motivation to return to a location, in part, stems from a desire to utilize ADA litigation to make

Plaintiff’s community more accessible for Plaintiff and others; and pledges to do whatever is

necessary to demonstrate the plausibility of Plaintiff returning to the Property once the barriers to

access identified in this Complaint are removed in order to strengthen the already existing

standing to confer jurisdiction upon this Court so an injunction can be issued correcting the

numerous ADA violations on this property. (“Advocacy Purposes”).

       7.      Defendant,      SOOK       INVESTMENTS           CORP.       (hereinafter    “SOOK

INVESTMENTS CORP.”) is a domestic corporation that transacts business in the State of

Colorado and within this judicial district.

       8.      Defendant, SOOK INVESTMENTS CORP., may be properly served with process

via its Registered Agent for service, to wit: c/o Leigh Marie Monahan, Registered Agent, 441

Garfield Street, Denver, CO 80206.

                                  FACTUAL ALLEGATIONS

       9.      On or about September 11, 2024, Plaintiff was a customer at “Hi Time Wine and

Spirits,” a liquor store located at 2300 E. 120th Avenue, Thornton, CO 80233, referenced herein



                                                 2
Case No. 1:24-cv-02759-MEH            Document 1 filed 10/05/24            USDC Colorado        pg 3
                                            of 14




as “Hi Time Wine”. The attendant refused to give Plaintiff a receipt of his purchase. See also

photo of Plaintiff attached as Exhibit 1.

       10.     Defendant, SOOK INVESTMENTS CORP., is the owner or co-owner of the real

property and improvements that Hi Time Wine and the surrounding parking lot is situated upon

and that is the subject of this action, referenced herein as the “Property.”

       11.     Defendant, SOOK INVESTMENTS CORP., is responsible for complying with

the ADA for both the exterior portions and interior portions of the Property. Even if there is a

lease between Defendant, SOOK INVESTMENTS CORP., and a tenant allocating

responsibilities for ADA compliance within the unit the tenant operates, that lease is only

between the property owner and the tenant and does not abrogate the Defendant’s requirement to

comply with the ADA for the entire Property it owns, including the interior portions of the

Property which are public accommodations. See 28 CFR § 36.201(b).

       12.     Plaintiff’s access to the Spice Kitchen, located at 2300 E. 120th Avenue,

Thornton, CO 80233, Adams County Property Appraiser’s property identification number:

0171901214012 and 171901214014 (“the Property”), and/or full and equal enjoyment of the

goods, services, foods, drinks, facilities, privileges, advantages and/or accommodations offered

therein were denied and/or limited because of his disabilities, and he will be denied and/or

limited in the future unless and until Defendant is compelled to remove the physical barriers to

access and correct the ADA violations that exist at the Property, including those set forth in this

Complaint.

       13.     Plaintiff lives less than 3 miles from the Property.

       14.     Given the close vicinity of the Property to the Plaintiff’s residence, Plaintiff often

travels by the Property.



                                                  3
Case No. 1:24-cv-02759-MEH            Document 1 filed 10/05/24            USDC Colorado          pg 4
                                            of 14




       15.     Plaintiff has visited the Property once before as a customer and advocate for the

disabled. Plaintiff intends to revisit the Property within six months after the barriers to access

detailed in this Complaint are removed and the Property is accessible again. The purpose of the

revisit is to be a return customer to Hi Time Wine, to determine if and when the Property is made

accessible and to substantiate already existing standing for this lawsuit for Advocacy Purposes.

       16.     Plaintiff intends on revisiting the Property to purchase goods and/or services as a

return customer as well as for Advocacy Purposes but does not intend to re-expose himself to the

ongoing barriers to access and engage in a futile gesture of visiting the public accommodation

known to Plaintiff to have numerous and continuing barriers to access.

       17.     Plaintiff travelled to the Property as a customer once before as a customer,

personally encountered many barriers to access the Property that are detailed in this Complaint,

engaged many barriers, suffered legal harm and legal injury, and will continue to suffer such

harm and injury if all the illegal barriers to access present at the Property identified in this

Complaint are not removed.

       18.     Although Plaintiff may not have personally encountered each and every barrier to

access identified in Plaintiff’s Complaint, Plaintiff became aware of all identified barriers prior

to filing the Complaint and because Plaintiff intends on revisiting the Property as a customer and

advocate for the disabled within six months or sooner after the barriers to access are removed, it

is likely that despite not actually encountering a particular barrier to access on one visit, Plaintiff

may encounter a different barrier to access identified in the Complaint in a subsequent visit as,

for example, one accessible parking space may not be available and he would need to use an

alternative accessible parking space in the future on his subsequent visit. As such, all barriers to

access identified in the Complaint must be removed in order to ensure Plaintiff will not be



                                                  4
Case No. 1:24-cv-02759-MEH           Document 1 filed 10/05/24            USDC Colorado         pg 5
                                           of 14




exposed to barriers to access and legally protected injury.

       19.     Plaintiff’s inability to fully access the Property and the stores in a safe manner and

in a manner which inhibits the free and equal enjoyment of the goods and services offered at the

Property, both now and into the foreseeable future, constitutes an injury in fact as recognized by

Congress and is historically viewed by Federal Courts as an injury in fact.

                                     COUNT I
                         VIOLATIONS OF THE ADA AND ADAAG

       20.     On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

       21.     Congress found, among other things, that:

       (i)     some 43,000,000 Americans have one or more physical or mental
               disabilities, and this number is increasing as the population as a whole is
               growing older;

       (ii)    historically, society has tended to isolate and segregate individuals with
               disabilities, and, despite some improvements, such forms of discrimination
               against individuals with disabilities continue to be a serious and pervasive
               social problem;

       (iii)   discrimination against individuals with disabilities persists in such critical
               areas as employment, housing public accommodations, education,
               transportation, communication, recreation, institutionalization, health
               services, voting, and access to public services;

       (iv)    individuals with disabilities continually encounter various forms of
               discrimination, including outright intentional exclusion, the discriminatory
               effects of architectural, transportation, and communication barriers,
               overprotective rules and policies, failure to make modifications to existing
               facilities and practices, exclusionary qualification standards and criteria,
               segregation, and relegation to lesser service, programs, activities, benefits,
               jobs, or other opportunities; and

       (v)     the continuing existence of unfair and unnecessary discrimination and
               prejudice denies people with disabilities the opportunity to compete on an
               equal basis and to pursue those opportunities for which our free society is
               justifiably famous, and costs the United States billions of dollars in
               unnecessary expenses resulting from dependency and non-productivity.


                                                 5
Case No. 1:24-cv-02759-MEH            Document 1 filed 10/05/24        USDC Colorado       pg 6
                                            of 14




42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       22.     Congress explicitly stated that the purpose of the ADA was to:

       (i)     provide a clear and comprehensive national mandate for the elimination of
               discrimination against individuals with disabilities;

       (ii)    provide a clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and

               *****

       (iv)    invoke the sweep of congressional authority, including the power to
               enforce the fourteenth amendment and to regulate commerce, in order to
               address the major areas of discrimination faced day-to-day by people with
               disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       23.      The congressional legislation provided places of public accommodation one and

a half years from the enactment of the ADA to implement its requirements.

       24.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

§ 12181; 28 C.F.R. § 36.508(a).

       25.     The Property is a public accommodation and service establishment.

       26.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.

       27.     Public accommodations were required to conform to these regulations by January

26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).

       28.     The Property must be, but is not, in compliance with the ADA and ADAAG.



                                                6
Case No. 1:24-cv-02759-MEH            Document 1 filed 10/05/24         USDC Colorado         pg 7
                                            of 14




       29.     Plaintiff has attempted to, and has to the extent possible, accessed the Property in

his capacity as a customer at the Property and as an independent advocate for the disabled, but

could not fully do so because of his disabilities resulting from the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       30.     Plaintiff intends to visit the Property again as a customer and as an independent

advocate for the disabled, in order to utilize all of the goods, services, facilities, privileges,

advantages and/or accommodations commonly offered at the Property, but will be unable to fully

do so because of his disability and the physical barriers to access, dangerous conditions and

ADA violations that exist at the Property that preclude and/or limit his access to the Property

and/or the goods, services, facilities, privileges, advantages and/or accommodations offered

therein, including those barriers, conditions and ADA violations more specifically set forth in

this Complaint.

       31.     Defendant, SOOK INVESTMENTS CORP., has discriminated against Plaintiff

(and others with disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Property, as prohibited

by, and by failing to remove architectural barriers as required by, 42 U.S.C. §

12182(b)(2)(A)(iv).

       32.     Defendant, SOOK INVESTMENTS CORP., will continue to discriminate against

Plaintiff and others with disabilities unless and until Defendant, SOOK INVESTMENTS CORP.,

is compelled to remove all physical barriers that exist at the Property, including those



                                                7
Case No. 1:24-cv-02759-MEH            Document 1 filed 10/05/24             USDC Colorado       pg 8
                                            of 14




specifically set forth herein, and make the Property accessible to and usable by Plaintiff and

other persons with disabilities.

       33.       A specific list of unlawful physical barriers, dangerous conditions and ADA

violations which Plaintiff experienced and/or observed that precluded and/or limited Plaintiff’s

access to the Property and the full and equal enjoyment of the goods, services, facilities,

privileges, advantages and accommodations of the Property include, but are not limited to:

ACCESSIBLE ELEMENTS:

               i.   The total number of accessible parking spaces is inadequate and is in violation

                    of Section 208.2 of the 2010 ADAAG standards. There are at least 110

                    parking spaces on the Property, which requires a minimum of five accessible

                    parking spaces, but there are only two accessible parking spaces. This barrier

                    to access would make it difficult for Plaintiff to locate an available accessible

                    parking space as such a small number of accessible parking spaces in a large

                    parking lot increases the likelihood of there not being an available accessible

                    parking space.

             ii.    In front of the Dentistry and Orthodontics sign, the accessible parking space

                    and associated access aisle have a running slope in excess of 1:48 in violation

                    of Section 502.4 of the 2010 ADAAG standards and are not level. This barrier

                    to access would make it dangerous and difficult for Plaintiff to exit and enter

                    their vehicle while parked at the Property as Plaintiff’s wheelchair may roll

                    down the slope while entering or exiting the vehicle.

             iii.   In front of the Dentistry and Orthodontics sign, due to an inadequate policy of

                    parking lot maintenance or a lack thereof, the accessible parking space is not



                                                  8
Case No. 1:24-cv-02759-MEH         Document 1 filed 10/05/24             USDC Colorado       pg 9
                                         of 14




                adequately marked so as to adequately gauge the width of accessible parking

                space and the presence of an access aisle and is therefore in violation of

                Section 502.1 and 502.2 of the 2010 ADAAG standards. This barrier to access

                would make it difficult for Plaintiff to locate an accessible parking space and

                may cause other vehicles to unknowingly park in the accessible parking space

                decreasing the available width to Plaintiff.

          iv.   In front of the Dentistry and Orthodontics sign, there is a policy of placing

                parking a stop in the access aisle which improperly encourages parking in the

                access aisle in violation of Section 502.3.3 of the 2010 ADAAG standards.

                This barrier to access would make it difficult for Plaintiff to leave a vehicle

                when parked in this accessible parking space as it is probable a vehicle may be

                parked in the access aisle due to the encouragement of parking there.

          v.    In front of the Dentistry and Orthodontics sign, due to a failure to enact a

                policy of proper parking lot maintenance, the ground surfaces of the access

                aisle servicing the accessible space has vertical rises in excess of ¼ (one

                quarter) inch in height, are not stable or slip resistant, have broken or unstable

                surfaces or otherwise fail to comply with Sections 502.4, 302 and 303 of the

                2010 ADAAG standards. This barrier to access would make it dangerous and

                difficult for Plaintiff to access the units of the Property.

          vi.   In front of the Dentistry and Orthodontics sign, there is an opening in the

                ground surfaces at the base of the accessible ramp with a width in excess of an

                inch in violation of Section 302.3 of the 2010 ADAAG Standards. This barrier

                to access could cause the wheel of Plaintiff’s wheelchair to get lodged in the



                                               9
Case No. 1:24-cv-02759-MEH         Document 1 filed 10/05/24          USDC Colorado         pg 10
                                          of 14




                 opening causing difficulty and risk of having the wheelchair tip over in a

                 struggle to get removed from the gap.

          vii.   In front of the Dentistry and Orthodontics sign, the Property has an accessible

                 ramp that lacks finished edges or edge protection and/or is otherwise in

                 violation of Section 405.9 of the 2010 ADAAG standards. This barrier to

                 access would expose Plaintiff to increased risk of injury for if the wheelchair

                 should fall of the side edge of the ramp, the lack of edge protection would

                 likely cause Plaintiff to tip and incur injury.

         viii.   For every one of the units on the Property, there is a doorway threshold with a

                 vertical rise in excess of ½ (one half) inch and does not contain a bevel with a

                 maximum slope of 1:2 in violation of Section 404.2.5 of the 2010 ADAAG

                 standards. This barrier to access would make it dangerous and difficult for

                 Plaintiff to access the interior of the Property at this location as the vertical

                 rise at the door threshold could potentially cause Plaintiff to tip over when

                 attempting to enter. Moreover, this barrier to access is made more difficult by

                 the fact that it is in the doorway and Plaintiff would be required to hold the

                 door open with one hand while attempting to the “push” the wheel of the

                 wheelchair over the vertical rise.

          ix.    Not all entrance doors and doorways comply with Section 404 of the 2010

                 ADAAG standards, this is a violation of Section 206.4 of the 2010 ADAAG

                 standards. This barrier to access would make it difficult for Plaintiff to access

                 the units of the Property.




                                               10
Case No. 1:24-cv-02759-MEH         Document 1 filed 10/05/24             USDC Colorado        pg 11
                                          of 14




           x.    Across the vehicular way from Unit 114, due to an inadequate policy of

                 parking lot maintenance or a lack thereof, the accessible parking space is not

                 adequately marked so as to adequately gauge the width of accessible parking

                 space and the presence of an access aisle and is therefore in violation of

                 Sections 502.1 and 502.2 of the 2010 ADAAG standards. This barrier to

                 access would make it difficult for Plaintiff to locate an accessible parking

                 space and may cause other vehicles to unknowingly park in the accessible

                 parking space decreasing the available width to Plaintiff.

          xi.    Across the vehicular way from Unit 114, the accessible parking space is

                 missing an identification sign in violation of Section 502.6 of the 2010

                 ADAAG standards. This barrier to access would make it difficult for Plaintiff

                 to locate an accessible parking space.

          xii.   Across the vehicular way from Unit 114, due to the lack of a nearby

                 accessible ramp, the Property lacks an accessible route from the accessible

                 parking space to the accessible entrance of the Property in violation of Section

                 208.3.1 of the 2010 ADAAG standards. This barrier to access would make it

                 difficult for Plaintiff to access the units of the Property.

         xiii.   Across the vehicular way from Unit 114, due to a policy of placing a

                 basketball hoop in the accessible parking space, the accessible parking space

                 is in violation of Sections 303.2 and 502.4 of the 2010 ADAAG Standards.

                 This barrier to access would make it difficult for Plaintiff to access the units of

                 the Property.




                                                11
Case No. 1:24-cv-02759-MEH              Document 1 filed 10/05/24            USDC Colorado        pg 12
                                               of 14




             xiv.      Defendant fails to adhere to a policy, practice and procedure to ensure that all

                       facilities are readily accessible to and usable by disabled individuals.

       34.          The violations enumerated above may not be a complete list of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at the Property.

       35.          Plaintiff requires an inspection of the Property in order to determine all of the

discriminatory conditions present at the Property in violation of the ADA.

       36.          The removal of the physical barriers, dangerous conditions and ADA violations

alleged herein is readily achievable and can be accomplished and carried out without significant

difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

       37.          All of the violations alleged herein are readily achievable to modify to bring the

Property into compliance with the ADA.

       38.          Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because the nature and cost of

the modifications are relatively low.

       39.          Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because Defendant, SOOK

INVESTMENTS CORP., has the financial resources to make the necessary.

       40.          Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable. According to the Adams

County Property Appraiser’s Office the Property is collectively valued at $3,244,200.00

       41.          The removal of the physical barriers and dangerous conditions present at the

Property is also readily achievable because Defendant has available to it a $5,000.00 tax credit

and up to a $15,000.00 tax deduction available from the IRS for spending money on accessibility



                                                    12
Case No. 1:24-cv-02759-MEH             Document 1 filed 10/05/24            USDC Colorado        pg 13
                                              of 14




modifications.

         42.     Upon information and good faith belief, the Property has been altered since 2010.

         43.     In instances where the 2010 ADAAG standards do not apply, the 1991 ADAAG

standards apply, and all of the alleged violations set forth herein can be modified to comply with

the 1991 ADAAG standards.

         44.     Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

reasonably anticipates that he will continue to suffer irreparable harm unless and until Defendant,

SOOK INVESTMENTS CORP., is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Property, including those alleged herein.

         45.     Plaintiff’s requested relief serves the public interest.

         46.     The benefit to Plaintiff and the public of the relief outweighs any resulting

detriment to Defendant, SOOK INVESTMENTS CORP.

         47.     Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and costs of

litigation from Defendant, SOOK INVESTMENTS CORP., pursuant to 42 U.S.C. §§ 12188 and

12205.

         48.     Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

injunctive relief to Plaintiff, including the issuance of an Order directing Defendant, SOOK

INVESTMENTS CORP., to modify the Property to the extent required by the ADA.

                 WHEREFORE, Plaintiff prays as follows:

         (a)     That the Court find Defendant, SOOK INVESTMENTS CORP., in violation of

                 the ADA and ADAAG;

         (b)     That the Court issue a permanent injunction enjoining Defendant, SOOK

                 INVESTMENTS CORP., from continuing their discriminatory practices;



                                                   13
Case No. 1:24-cv-02759-MEH       Document 1 filed 10/05/24           USDC Colorado         pg 14
                                        of 14




      (c)   That the Court issue an Order requiring Defendant, SOOK INVESTMENTS

            CORP., to (i) remove the physical barriers to access and (ii) alter the subject

            Property to make it readily accessible to and useable by individuals with

            disabilities to the extent required by the ADA;

      (d)   That the Court award Plaintiff his reasonable attorneys' fees, litigation expenses

            and costs; and

      (e)   That the Court grant such further relief as deemed just and equitable in light of the

            circumstances.

                                          Dated: October 5, 2024.

                                          Respectfully submitted,

                                          Law Offices of
                                          THE SCHAPIRO LAW GROUP, P.L.

                                          /s/ Douglas S. Schapiro
                                          Douglas S. Schapiro, Esq.
                                          State Bar No. 54538FL
                                          The Schapiro Law Group, P.L.
                                          7301-A W. Palmetto Park Rd., #100A
                                          Boca Raton, FL 33433
                                          Tel: (561) 807-7388
                                          Email: schapiro@schapirolawgroup.com


                                          ATTORNEYS FOR PLAINTIFF




                                             14
